        Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 1 of 27




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

ALEX EMRIC JONES,                          :
TIMOTHY D. ENLOW,                          :
                                           :
             Plaintiffs,                   :   Dkt. No.: 1:21-cv-03316-CRC
                                           :
v.                                         :
                                           :
SELECT COMMITTEE TO                        :
INVESTIGATE THE JANUARY 6                  :
ATTACK ON THE UNITED STATES                :
CAPITOL;                                   :
                                           :   :
NANCY PELOSI, in her official              :
capacity as Speaker of the U.S.            :
House of Representatives;                  :
                                           :
BENNIE G. THOMPSON, in his official        :
capacity as Chair of the Select            :
Committee To Investigate the January       :
6th attack on the United States Capitol;   :
                                           :
ELIZABETH L. CHENEY, in her official       :
Capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
ADAM B. SCHIFF, in his official            :
Capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
JAMES B. RASKIN, in his official           :
Capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
SUSAN E. LOFGREN, in her official          :
capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
ELAINE G. LURIA, in her official           :
capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
PETER B. AGUILAR, in his official          :
capacity as a member of the U.S.           :
           Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 2 of 27




 House of Representatives;                  :


STEPHANIE MURPHY, in her official           :
Capacity as a member of the U.S.            :
House of Representatives;                   :
                                            :
ADAM D. KINZINGER, in his official          :
capacity as a member of the U.S.            :
House of Representatives;                   :
                                            :
                 Defendants.                :      DECEMBER 13, 2022


                      NOTICE AND SUGGESTION OF BANKERUPTCY

      The Defendant - Alexander E. Jones - in the above referenced

matters, by his undersigned attorneys, respectfully represent as

follows:

                  1.     On    December     2,   2022,      The   Defendant-

           Alexander E. Jones- filed Voluntary Petitions in the United

           States Bankruptcy Court for the Southern District of Texas,

           seeking relief pursuant to Chapter 11 of Title 11 of the United

           States Code, styled In re: Alexander

           E. Jones, Case No. 22-33553. True and accurate copies of

           this petition is attached as Exhibit A hereto.

                 2.      As a result of the aforementioned bankruptcy

           filings, all proceedings in this case are stayed pursuant to

           the automatic stay provisions of 11 U.S.C. § 362.

                 3.      Pursuant to Practice Book § 14-1, an affidavit

           setting forth the information required by§ 14-1 is attached

           hereto as Exhibit B.
        Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 3 of 27




Dated: December 13, 2022                       Respectfully Submitted,




                                         BY:lsl Norman A. Pattis Isl
                                         Isl Kevin M. Smith Isl
                                          Norman A. Pattis
                                         Kevin M. Smith
                                         PATTIS & SMITH, LLC
                                         Juris No. 423934
                                         383 Orange Street
                                         New Haven, CT06511
                                         V: 203-393-3017 F: 203-393-9745
                                         npattis@pattisandsmith.com
                                Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 4 of 27
                                 Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 1 of 21

      Fill in this information to 1dent1fy your case

      United States Bankruptcy Court for the:

                      Southern District ofTexas

      Case number (If known):                            Chapter you are filing under:
                                                                  Chapter7
                                                        D         Chapter 11

                                                         D
                                                                  Chapter 12
                                                                  Chapter 13
                                                                                                                                                 □   check if this is an
                                                                                                                                                     amended filing


     Official Form 101

     Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/22
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called aJoint case-and
 in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer would be yes if
 either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
 joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
 space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every
 question.

 ■ §f         I   Identify Yourself

                                                   About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):
      1.    Your full name
                                                       Alexander
            Write the name that is on your         First name                                                        First name
            government-issued picture               Emeric
            identification (for example, your      Middle name                                                       Middle name
            driver's license or passport).
                                                    Jones
            Bring your picture identification      Last name                                                         Last name
            to your meeting with the trustee.
                                                   Suffix (Sr., Jr, II, Ill)                                         Suffix (Sr., Jr, II, Ill)
 i
 i.
!
      2.   All other names you have                Alex
                                                  First name                                                         First name
           used in the last 8 years
           Include your married or maiden
                                                  Middlenama                                                         Middle name
           names and any assumed, trade
           names and doing business as             Jones
           names.                                 Last name                                                          Last name

           Do NOT list the name of any             Alexander
           separate legal entity such as a        First name                                                         First name
           corporation, partnership, or LLC
           that is not filing this petition.       E.
                                                  Middle name                                                       Middle name
                                                   Jones
                                                  Last name                                                         Last name



                                                  Business name (if applicable)                                     Business name (if applicable)


                                                  Business name (If applicable)                                     Business name (if applicable)




     3. Only the last 4 digits of your                                                                              xxx-xx-                      _
           Social Security number or
                                                  XXX - XX -_§_         .Jl .Jl ......!_
           federal Individual Taxpayer            OR                                                                OR
           Identification number                 9xx-xx-                           _                                9xx-xx-                      _
           (l'!'IN)

Official Form 101                                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                         Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 5 of 27
                              Case 22-33553              Document 1 Filed in TXSB on 12/02/22                                Page 2 of 21

  Debtor 1             Alexander          E.                          Jones                                           Case number (if known)
                       First Name         Middle Name                 Last Name



                                           About Debtor 1:                                                  About Debtor 2 (Spouse Only In a Joint Case):


   4.   Your Employer Identification
        Number (EIN), if any.              EIN                                                              EIN



                                           EIN                                                              EIN




                                                                                                            If Debtor 2 lives at a different address:
   5.   Where you live


                                           Number            Street                                         Number           Street




                                               Austin, TX 78735
                                           City                                    State      ZIP Code      City                                  State     ZIP Code


                                               Travis
                                           County                                                           County

                                           If your mailing address is different from the one above,        If Debtor 2's malling address is different from yours, fill
                                           fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                           you at this mailing address.                                    at this mailing address.

                                           c/o Vickie L. Driver STE 425
                                           Number            Street                                        Number            Street


                                               2525 McKinnon St.
                                           P.O.Box                                                         P.O.Box

                                               Dallas TX 75201
                                           City                                    State      ZIP Code     City                                   State    ZIP Code




  6.    Why you are choosing this          Check one:                                                      Check one:
        a,srricr to TIie tor Dankruptcy
                                           D      Over the last 180 days before filing this petition, I    D Over the last 180 days before filing this petition, I
                                                  have lived in this district longer than in 1:!nY other           have lived in this district longer than in any other
                                                  district.                                                        district.

                                                  I have another reason. Explain.                          D       I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408)                                           (See 28 U.S.C. § 1408)

                                                    Affiliate case filed in this district (In re: Free


                                                    Speech Systems, LLC, Case No. 22-60043)




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page2
                          Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 6 of 27
                             Case 22-33553                Document 1 Filed in TXSB on 12/02/22                                  Page 3 of 21

   Debtor 1           Alexander           E.                           Jones                                            Case number (if known)                                _
                      First Name          Middle Name                  Last Name


              Tell the Court About Your Bankruptcy Case

    7. The chapter of the Bankruptcy      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342{b) for Individuals Filing for
       Code you are choosing to file      E'.lnkruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                                    Chapter 7
                                          liZI  Chapter 11
                                          D         Chapter 12
                                          D         Chapter 13




    8.   How you will pay the fee         liZI I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                               details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                               check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                               a credit card or check with a pre-printed address.

                                          D    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                               to Pay The Filing Fee in Installments (Official Form 103A).

                                          D I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                               judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                               official poverty line that applies to your family size and you are unable to pay the fee in installments}. If you
                                               choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                               103B) and file it with your petition.




   9.    Have you filed for bankruptcy   liZf No.
                                         □Yes. District·
         within the last 8 years?
                                                                                                           When                      Case number
                                                                                                                  MM/ DD/YYYY
                                                      District.                                            When                      C.ase number                             _
                                                                                                                  MM/ DD/YYYY
                                                      District                                             When                      Case number
                                                                                                                  MM/ DDIYYYY



   10. Are any bankruptcy cases          □No.
       pending or being filed by a
       spouse who Is not filing this     liZf Yes.     Debtor Free Speech Systems. LLC                                           Relationship to you _.awfffw.lla ,te.    _
       case with you, or by a
       business partner, or by an                    District Southern District of Texas             When 07/29/2022            Case number, if known 22-60043
       affiliate?                                                                                            MM/ DD/YYYY
                                                     Debtor                                                                     .Relationship to you

                                                     District                                         When                       Case number, if known
                                                                                                             MM/DDIYYYY



  11. Do you rent your residence?        liZI No. Go to line 12.
                                         D Yes. Has your landlord obtained an eviction judgment against you?
                                                      0    No. Go to line 12.

                                                      D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                           as P!l.rt of this b .! !:U.P. 9'   P!! i? ---




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                         page 3
                        Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 7 of 27
                             Case 22-33553                 Document 1 Filed in TXSB on 12/02/22                              Page 4 of 21

  Debtor 1            Alexander             E.                         Jones                                          Case number (if known)
                      First Name            Middle Name                Last Name


             Report About Any Businesses You Own as a Sole Proprietor

   12. Are you a sole P.roprietor of             No. Go to Part 4.
       anyrull-orpart 1me
                                            D Yes. Name and location of business
       business?

       A sole proprietorship is a
       business you operate as an                Name of business, if any
       individual, and is not a separate
       legal entity such as a
       corporation, partnership, or LLC.         Number           Street

       If you have more than one sole
       proprietorship, use a separate
       sheet and attach it to this
       petition.                                 City                                                  State            ZIP Code


                                                 Check the appropriate box to describe your business:

                                                 D      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                 D      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                 D      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                 D      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                 D      None of the above



   13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
       11 of the Bankruptcy'Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
       and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
       debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
       by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(6).
       For a definition of small business   D    No.        I am not filing under Chapter 11.
       debtor, see 11 U.S.C. §
       101(51D).                                 No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                            Bankruptcy Code.

                                            D Yes.          I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                            Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                            D Yes.          I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                            Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                          Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 8 of 27
                           Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 5 of 21

   Debtor 1           Alexander          E.                        Jones                                          Case number (if known)                _
                      First Name         Middle Name               Last Name


 ■ iii Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention
    14. Do you own or have any           liZf   No.
         property that poses or is
         alleged to pose a threat of     D      Yes.   What is the hazard?
        Imminent and identifiable
        hazard to public health or
        safety? Or do you own any
        property that needs immediate
        attention?                                     If immediate attention is needed, why is it needed?

       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?

                                                       Where is the property?
                                                                                 Number        Street




                                                                                 City                                            State     ZIP Code




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
                        Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 9 of 27
                          Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 6 of 21

  Debtor 1           Alexander           E.                          Jones                                                Case number (if known)
                     First Name           Middle Name                Last Name



■ ifj Explain Your Efforts to Receive a Briefing About Credit Counseling
   15. Tell the court whether you        About Debtor 1:                                                        About Debtor 2 (Spouse Only In a Joint Case):
       have received a briefing
       about credit counseling.

       The law requires that you         You must check one:                                                    You must check one:

       receive a briefing about credit
       counseling before you file for         I received a briefing from an approved credit counseling          D I received a briefing from an approved credit counseling
       bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy              agency within the 180 days before I filed this bankruptcy
       check one of the following             petition, and I received a certificate of completion.                  petition, and I received a certificate of completion.
       choices. If you cannot do so.          Attach a copy of the certificate and the payment plan, if any,         Attach a copy of the certificate and the payment plan, if any,
       you are not eligible to file.          that you developed with the agency.                                    that you developed with the agency.

       If you file anyway, the court     D I received a briefing from an approved credit counseling             D I received a briefing from an approved credit counsefing
       can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy              agency within the 180 days before I filed this bankruptcy
       lose whatever filing fee you           petition, but I do not have a certificate of completion.               petition, but I do not have a certificate of completion.
       paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you            Within 14 days after you file this bankruptcy petition, you
       begin collection activities            MUST file a copy of the certificate and payment plan, if any.          MUST file a copy of the certificate and payment plan, if any.
       again.
                                         D I certify that I asked for credit counseling services from an        D I certify that I asked for credit counseling services from an
                                              approved agency, but was unable to obtain those services               approved agency, but was unable to obtain those services
                                              during the 7 days after I made my request, and exigent                 during the 7 days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver of the                   circumstances merit a 30-day temporary waiver of the
                                              requirement.                                                           requirement.
                                              To ask for a 30-day temporary waiver of the requirement,               To ask for a 30-day temporary waiver of the requirement,
                                              attach a separate sheet explaining what efforts you made lo            attach a separate sheet explaining what efforts you made to
                                              obtain the briefing, why you were unable to obtain it before           obtain the briefing, why you were unable to obtain tt before
                                              you filed for bankruptcy, and what exigent circumstances               you filed for bankruptcy, and what exigent circumstances
                                              required you to file this case.                                        required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                               your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                               bankruptcy.                                                           bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                               with a copy of the payment plan you developed, If any. If you         with a copy of the payment plan you developed, if any. If you
                                               do nol do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited lo a maximum of 15 days.                         cause and is limtted to a maximum of 15 days.

                                         D   I am not required to receive a briefing about credit               D I am not required to receive a briefing about credit
                                              counseling because of:                                                 counseling because of:
                                             0    Incapacity. I have a mental illness or a mental                    D Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me incapable of                                  deficiency that makes me incapable of
                                                                 realizing or making rational decisions                                 realizing or making rational decisions
                                                                 about finances.                                                        about finances.
                                             0    Disability. My physical disability causes me to be                 D   Disability,     My physical disability causes me to be
                                                                 unable lo participate in a briefing in                                 unable to participate in a briefing in
                                                                 person, by phone, or through the                                       person, by phone, or through the
                                                                 internet, even after I reasonably tried to                             internet, even after I reasonably tried to
                                                                 do so.                                                                 do so.
                                             0    Active duly. I am currently on active military duty in            0    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.


                                              If you believe you are not required to receive a briefing              If you believe you are not required to receive a briefing
                                              about credit counseling, you must file a motion for waiver of          about credit counseling, you must file a motion for waiver of
                                              credit counseling with the court.                                      credit counseling with the court.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                                  page 6
                            Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 10 of 27
                              Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 7 of 21

    Debtor 1            Alexander               E.                           Jones                                             Case number /if known)
                        First Name              Middle Name                  Last Name


               Answer These Questions for Reporting Purposes

     16. What kind of debts do you                 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
         have?                                          "incurred by an individual primarily for a personal, family, or household purpose."
                                                           5ZI No. Go to line 16b.
                                                           D Yes. Go to line 17.
                                                   16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                        for a business or investment or through the operation of the business or investment.
                                                           D No. Go to line 16c.
                                                           5ZI     Yes. Go to line 17.

                                                   16c. State the type of debts you owe that are not consumer debts or business debts.



    17. Are you filing under Chapter 77                    No. I am not filing under Chapter 7. Go to line 18.

        Do you estimate that after any                    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
        exempt property is excluded                              administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        and administrative expenses are                             0   No
        paid that funds will be avallable                           D    Yes
        for distribution to unsecured
        creditors?

    18. How many creditors do you                 0       1-49          0      1,000-5,000             D   25,001-50,000   D   50,000-100,000   D   More than 100,000
        estimate that you owe?                     liZI    50-99        0      5,001-10,000
                                                   0       100-199       0     10,001-25,000
                                                  0    200-999


    19. How much do you estimate your             0       $0-$50,000                          fill   $1,000,001-$10 million             D $500,000,001-$1 billion
        assets to be worth?                       0       $50,001-$100,000                   D $10,000,001-$50 million                  D $1,000,000,001-$10 billion
                                                   0      $100,001-$500,000                  D $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                                  D       $500,001-$1 million                D $100,000,001-$500 million                D More than $50 billion
    20. How much do you estimate your             0       $0-$50,000                         D $1,000,001-$10 million                   D   $500,000,001-$1 billion
       liabilities to be?                          0      $50,001-$100,000                   D $10,000,001-$50 million                  fill   $1,000,000,001-$10 billion
                                                   0       $100,001-$500,000                 D $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                                   D                                         D $100,000,001-$500 million                D More than $50 billion
■ §fl
                                                          $500,001-$1 million

               Sign Below
I
    Foryou                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                     If I have chosen to file under Chapter 7, I am aware thatl may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                     States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                     have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                     bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                     and 3571.

                                       X     Isl Alex Jones
                                           Alex Jones, Debtor 1
                                           Executed on 11=/=30=/=2=2             _
                                                             MM/ DD/ YYYY




Official Form 101                                            Voluntary Petition for Individuals FIiing for Bankruptcy                                                       page 7
             Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 11 of 27
                    Case 22-33553                   Document 1 Filed in TXSB on 12/02/22                                  Page 8 of 21



Debtor 1                                                                                             Case number(Nlrllow• ------------
             First Name    Middle Name·              Lasl:Name




            Answer These Questions for Reporting P'urposes

                                          16a. Are your debts primarily consumer debts? Consumerdebls are defined in 11 u.s.c. § 101(8)
16. What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose,.'
   you have?
                                               0   No. Go to line 16b.
                                               D Yes. Go to line 17.
                                          16b. Are your debts primarily business debts.? Business debts are debts that you Incurred to obtain
                                              money·for a business or Investment or through the operation of the business or investment.
                                               D No. Go to line 16c.
                                               D Yes. Go to line 17.
                                          16c. State the type of debts you owe that are not consumer debts or business debts.



11. Are you filing under
   Chapter7?                              D No.    I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after             D Yes. I am filing under Chapter 7. Do you estimate that afterahy exempt property is excluded and
   any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured.creditors?
   excluded and                                    D   No
   administrative-expenses
   are paid that funds will be                     D   Yes
   available for distribution
   to unsecured creditors?
1s. How many creditors do                 D 1-49                                 D 1,000-5,000                            D 25,001-50,000
    you estimate that you                 D 50-99                                D 5,001-10,000                          0   50,001-100,000
   owe?                                   D 100-199                             0   10,001-25,000                         D More than 100,000
                                          D 200-999
19. How much do you                       0   $0-$50,000                         D $1,000,001-$10 million                 D $500,000,001-$1 billion
   estimate your assets to                D $50,001-s100,ooo                     D $10,000,001-$50 million                D $1,000,000,001-$10 billion
   be worth?                              D $100,001-$5oo,ooo                    D $50,000,001-$100 mfllion               D $10,000,000,001-$50 bllllon
                                          D $500,001-$1 million                  D $100,000,001-$500 million              D More than $50 billion
20. How much do you                       0   $0-$50,000                        D $1,000;001-$10 mUlion                   D $500,000,001-$1 billion
   estimate your liabHities               D $50,001-$100,000                    D .$10,000;001-$50 million                D $1,000,000,001-$10 blllion
   to be?                                 0   $100,01>1-$500,ciOO               D $50,000,001-$100 million                D $10,000,000,001-$50 billion
                                          D $500,001-$1 million                 D $100,000,001-$500 million               D More than $50 billion
l@fi        Sign Below

                                      I have examined this petition, and I dedare under penalty of pe ury that the Information provided Is lrl.!e and
Foryou                                correc;t,
                                      If! have chosen to tile under Chapter 7,'I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States COde. I understand the·rellef available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      thli; document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request refief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making .a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result i . nes up to $250,000, or Imprisonment for up to 20 years, or both.
                                      18 u.s.c. §§ 152, 13 , 1519, . 3 71.

                                                                                                       X
                                                                                                           Signature of Debtor 2

                                                                                                           Executed on
                                                                                                                         MM I DD     /YYYY


 Official Fonn 101                                  Voiuntary Petition for Individuals Filing for Bankruptcy                                    page7
                          Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 12 of 27
                            Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 9 of 21

   Debtor 1            Alexander              E.                           Jones                                        Case number (if known)
                       First Name             Middle Name                  Last Name



     For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
     represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
     If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certify thaJ I have no knowledge after an inquiry
     attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
     page.

                                                X      Isl Vickie L, Driver                                              Date 12/02/2022
                                                                                                                                MM/ DD/ YYYY
                                                     Signature of Attorney for Debtor




                                                     Vickie L Pcivec
                                                    Printed name

                                                     Crowe & Dunlevy, e.c.
                                                    Firm name

                                                     2525 McKinnon St. Suite 425
                                                    Number                Street



                                                    _.D._.a..,U.,.a.,_s                                               ..IX_ ..7.-=5=20,,_1.,
                                                   City                                                               State     ZIP Code




                                                   Contact phone (737)218-6187                         Email address Dallaseservice@crowedunlevy.com


                                                    24026886                                                          TX
                                                   Bar number                                                         State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 8
     Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 13 of 27
        Case 22-33553      Document 1 Filed in TXSB on 12/02/22                    Page 10 of 21




                                                 Certificate Number: 15725-TXW-CC-037008086

                                                IIIIIIII IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIll
                                                                      I5725-TXW-CC-037008086
                                                                                                     111111111111111




                      CERTIFICATE OF COUNSELING


I CERTIFY that on November 29, 2022, at 8:09 o'clock PM EST, Alexander
Jones received from 001 Debtorcc, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the Western District of Texas, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 29. 2022                       By:        IslAlexis Preza-Alva


                                                Name: Alexis Preza-Alva


                                                Title:     Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
                                  Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 14 of 27
                                     Case 22-33553              Document 1              Filed in TXSB on 12/02/22              Page 11 of 21

      Fill 1n this 1nfom1cit1on to 1dent1fy your case

       Debtor 1                   Alexander              E.                 Jones
                                  First Name            Middle Name        Last Name

       Debtor 2
       (Spouse, if filing)        First Name            Middle Name        Last Name

       United States Bankruptcy Court for the:                        Southern District of Texas

       Case number                                                                                                                    D   Check if this is an
      (if known)                                                                                                                          amended filing



    Official Form 104
    For Individual Chapter 11 Cases: List of Creditors Who Have the 20
    Largest Unsecured Claims Against You and Are Not Insiders                                                                                                   12/15
    If you are a Individual filing for bankruptcy under Chapter 11, you mustflll outthis form. If you areflllng under Chapter 7, Chapter 12, or Chapter 13, do not fill
    out this form, Do not include claims by anyone who is an Insider. Insiders include your relatives; any general partners; relatives of any general partners;
    partnerships of which you are a general partner; corporations of which you are an officer, director, person in control, or owner of 20 percent or more of their
    voting securities; and any managing agent, including one for a business you operate as a sole proprietor.11 U.S.C. § 101. Also, do not include claims by
    secured creditors unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.




■
                 List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                What Is the nature of the claim?--- L-it_ig_a-ti_on_C-la-im --­                     s120,ooo.ooo.oo

!      Robert Parker                                            As of the date you file, the claim is: Check all that apply.
       Creditor's Name
                                                                fiZlcontingent
       c/o Ryan Chapple                                         fiZI Unliquidaled
       Cain & Skamulis
       303 Colorado St, STE 2850                                fiZI Disputed
       Number            Street                                 DNone of the above apply
•      Austin, TX 78701                                        12Pes the creditor have a lien on your property? Unsecured
       City                             State       Zip Code    No
                                                                DYes.
      Contact                                                  Total claim (secured and unsecured):
                                                               Value of security:
                                                               Unsecured Claim:
      Contact phone


Official Form 104                           For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 1
                                Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 15 of 27
                                  Case 22-33553               Document 1 Filed in TXSB on 12/02/22                                                         Page 12 of 21

  Debtor 1                Alexander             E.                      Jones                                                        Case number (if known)
                          First Name            Middle Name             Last Name
                                                                                                                                                                       Unsecured claim

 I   William Aldenberg
                                                              What is the nature of the claim? -----=L...,iti_.ga=t..,io.,.n..,C=l""ai""m.,

                                                              As of the date you file, the claim is: Check all that apply.
                                                                                                                                                                   _       $90,000,000.00


     Creditor's Name
                                                              !ill Contingent
     c/o Ryan Chapple                                         lilJ Unliquidaled
     Cain & Skarnulis PLLC                                    !illDisputed
     303 Colorado St, STE 2850
     Number            Street                                 DNone of the above apply
     Austin, TX 78701                                         Qges the creditor have a lien on your property? Unsecured
     City                              State     Zip Code      No
                                                              Dves.
     Contact                                                  Total claim (secured and unsecured):
                                                              Value of security:
     Contact phone
                                                              Unsecured Claim:


 I   Ian Hockley
                                                              What is the nature of the claim? ---- L=iti=ga=t=io n...,C=l=a.lm

                                                              As of the date you file, the claim is: Check all that apply.
                                                                                                                              . . ...                           _          $81,600,000,00

     Creditor's Name
                                                              !illContingent
     c/o Ryan Chapple                                         !illUnliquidated
     Cain & Skarnulis PLLC                                    !illDisputed
     303 Colorado St, STE 2850
     Number           Street                                  DNone of the above apply
     Austin, TX 78701                                         Qges the creditor have a lien on your property? Unsecured
                                       State     Zip Code     No
                                                              Dves.
     Contact                                                  Total claim (secured and unsecured):
                                                              Value of security:
                                                              Unsecured Claim:


I
     Contact phone

                                                              What is the nature of the claim?                    .L...,iti_.g.a.t...,jo._..n...,C..,l.,.ai,..m.._ _       $76 000,000.00

     Erica Lafferty                                           As of the date you file, the claim is: Check all that apply.
     Cred or's Name
                                                              !ill Contingent
     c/o Ryan Chapple                                         !illUnliquidated
     Cain & Skamul1s PLLC                                     !illDisputed
     303 Colorado St., STE 2850
     Number           Street                                  DNone of the above apply
     Austin, TX 78701                                         Qges the creditor have a lien on your property? Unsecured
     City                              State     Zip Code     llllNo
                                                              Dves.
     Contact                                                  Total claim (secured and unsecured):
                                                              Value of security:
     Contact phone
                                                              Unsecured Claim:




Official Form 104                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page 12
                                Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 16 of 27
                                 Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 13 of 21

    Debtor 1               Alexander              E.                        Jones                                                          Case number (if known)---------
                           First Name              Middle Name              Last Name




  ■
                                                                                                                                                                               Unsecured claim
                                                                   What Is the nature of the claim?
                                                                                                                    .L,.,it""iq..,a""tio..,n.,_,,,C"'la"'-im,.,            _      S730600.ooo.oo

      Nicole Hockley                                              As of the date you file, the claim is: Check all that apply.
      Creditor's Name
                                                                  Gzl Contingent             .
      c/o Ryan Chapple                                            Gzl Unliquidated
      Cain & Skamulis PLLC
      303 Colorado St, STE 2850
                                                                  Gzl Disputed
      Number           Street                                     DNone of the above apply
      Austin, TX 78701                                            Qpes the creditor have a lien on your property? Unsecured
      City                               State      Zip Code      bCINo
                                                                  Dves.
     Contact                                                      Total claim (secured and unsecured):
                                                                  Value of security:
                                                                  Unsecured Claim:

                                                                  What Is the nature of the claim?                .L..,.iti,a;·g..,a..,.jio..,n.,_,.,C.,.la,..im.,_,       _     $68,800,000.00 ,
     Jillian Soto-Marino                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                                  Gzl Contingent
     c/o Ryan Chapple                                             Gzl Unliquidated
     Cam & Skarnulis PllC
     303 Colorado St, STE 2850                                    Gzl Disputed
     Number           Street                                      DNone of the above apply
     Austin, TX 78701                                            Qees the creditor have a lien on your property? Unsecured
     City                               State      Zip Code      bCINo
                                                                  Dves.
     Contact•                                                    Total claim (secured and unsecured):
                                                                 Value of security:
    Contact phone
                                                                 Unsecured Claim:

                                                                 What Is the nature of the clalm?               ....1,L,11jj,&;1;j9Uiawliw.POu..><C:llilawim,.,        _        $66,000,000 00
  arlee Soto Parisi                                              As of the date you file, the claim is: Check all that apply.
    Creditor's Name
                                                                 Gzl Contingent
    c/o Ryan Chapple                                             Gzl Unliquidated
    Cain & Skamulis PLLC
    303 Colorado St, STE 2850                                    Gzl Disputed
    Number          Street                                       DNone of the above apply
    Austin, TX 78701                                             Qpes the creditor have a lien on your property? Unsecured
    City                                State     Zip Code       bCINo
                                                                 Dves.
    Contact                                                      Total claim (secured and unsecured):
                                                                 Value of security:
    Contact phone                                                Unsecured Claim:




Official Form 104                          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                   page 13
                              Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 17 of 27
                                Case 22-33553 Document 1 Filed in TXSB on 12/02/22                                                                        Page 14 of 21

  Debtor 1               Alexander             E.                       Jones                                                          Case number (if known)---------
                         First Name            Middle Name              Last Name
                                                                                                                                                                      Unsecured clalm


 I
                                                                                                                                                                  _       $57,600,000.00
                                                                                                                ..t..,io..._n,._C"'l""·.a.m
                                                             What is the nature of the claim? ----- =L,.,,iti""ga                         1     ..
      Carlos M. Soto                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                             iiZI Contingent
     c/o Ryan Chapple                                        iiZI Unliquidated
     Cain & Skamulis PLLC
     303 Colorado St, STE 2850
                                                             iiZI Disputed
     Number       Street                                     0 None of the above apply
     Austin, TX 78701                                        llsi>es the creditor have a lien on your property? Unsecured
     City                             State     Zip Code      No
                                                             Dves.
     Contact                                                 Total claim (secured and unsecured):
                                                             Value of security:
                                                             Unsecured Claim:


I
     Contact phone


                                                             What is the nature of the claim? ----L it"_19.,.at_io_n_C_f_a_jm                               --­          $57.600.000.00
     Mark Barden                                             As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                             iiZI Contingent
     c/o Ryan Chapple                                        iiZI Un liquidated
     Cain & Skarnulis PLLC
     303 Colorado St, STE 2850
                                                             iiZI Disputed
     Number       Street                                     DNone of the above apply
     Austin, TX 78701                                        12ges the creditor have a lien on your property? Unsecured
     City                             State     Zip Code     bCINo
                                                             Dves.
     Contact                                                 Total claim (secured and unsecured):
                                                             Value of security:
     Contact phone                                           Unsecured Claim:




■
                                                                                                                        .L..,it.,_jg.,.a..tio,..n.,_C=la=im ---          $55 000.000.00
                                                             What is the nature of the claim?
     David Wheeler                                           As of the date you file, the claim Is: Check all that apply.
     Credito s Name
                                                             iiZI Contingent
     c/o Ryan Chapple                                        iiZI Unliquidated
     Cain & Skamulis PLLC
     303 Colorado St, STE 2850
                                                             iiZI Disputed
     Number          Street                                  D None of the above apply
     Austin, TX 78701                                        Qges the creditor have a lien on your property? Unsecured
     City                             State     Zip Code     bCINo
                                                             Dves.
    Contact                                                  Total claim (secured and unsecured):
                                                             Value of security:
                                                             Unsecured Claim:
    Contact phone




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page14
                                  Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 18 of 27
                                     Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 15 of 21

        Debtor   1            Alexander              E.                       Jones                                                        Case number (if known)
                              First Name             Middle Name              Last Name




 ■
                                                                                                                                                                            Unsecured claim

                                                                    What is the nature of the claim? -----= L.i.t.aai.._t..,io,.n'"'c,...1a . , . im " ---- ­                  $54.000,000,00
          Francine Wheeler                                          As of the date you file, the claim is: Check all that apply.
          Creditor's Name
                                                                    iizlContingent
          c/o Ryan Chapple                                          iizlUn/iquidated
          Cain & Skarnulis PLLC
          303 Colorado St, STE 2850                                 iizlDisputed
          Number       Slreel                                       0 None of the above apply
         Austin, TX    78701                                        Qpes the creditor have a lien on your property? Unsecured
         Cily                               State     Zip Code      bl!No
                                                                    Dves.
         Contact                                                    Total claim (secured and unsecured}:
                                                                    Value of security:




■
    1    Contact phone                                              Unsecured Claim:
 1--
                                                                    What is the nature of the claim?                       .L,.,..it""iq-a=tio_n_c=1a=im ----                 $52,000,000 00
         Jennifer Hensel                                            As of the date you file, the claim is: Check all that apply.
         Creditor's Name                                           iizlContingent
         c/o Ryan Chapple                                          iizlUnliquidated
         Cain & Skarnulis PLLC
         303 Colorado St, STE 2850
                                                                   iizl Disputed
         Number       Street                                        DNone of the above apply
         Austin, TX   78701                                        Qges the creditor have a lien on your property? Unsecured
         City                              Stale      Zip Code     bl!No
                                                                   Dves.
         Contact                                                   Total claim (secured and unsecured}:
                                                                   Value of security:




■
                                                                   Unsecured Claim:
         Conlact phone

                                                                   What is the nature of the clalm?                      ,L""ilie.c·g,..a.,.t.i.on.._..C..!a.,.jm,.,_   _     S48.ooo.ooo.oo
I
1        Donna Soto                                                As of the date you file, the claim is: Check all that apply.
        Creditor's Name
                                                                   iizl Contingent
        c/o Rf an Chapple                                          iizl Unliquidated
        Cain Skarnulis PLLC
        303 Colorado St, STE      2850                             iizlDisputed
        Number       Slreet                                        DNone of the above apply
        Austin, TX    78701                                        Qges the creditor have a lien on your property? Unsecured
        City                               Slate     Zip Code      bl!No
                                                                   Dves.
        Contact                                                    Total claim (secured and unsecured):
                                                                   Value of security:
                                                                   Unsecured Claim:
        Contact phone




Official Form 104                             For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              page 15
                                Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 19 of 27
                                  Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 16 of 21

  Debtor 1                 Alexander            E.                      Jones                                                             Case number (ff known)
                          First Name            Middle Name             Last Name
                                                                                                                                                                   Unsecured claim

 I   William Sherlach
                                                              What is the nature of the claim?----=L=iti_ga=t=io_n_C_l=a-im ---­

                                                              As of the date you file, the claim Is: Check all that apply.
                                                                                                                                                                      $36,000,000.00


     Creditor's Name
                                                              5ZI Contingent
     c/o Ryan Chapple                                         5ZI Unliquidated
     Cain & Skarnulis PLLC
     303 Colorado St, STE 2850
                                                              5ZI Disputed
     Number            Street                                 0 None of the above apply
     Austin, TX 78701                                         D,pes the creditor have a lien on your property? Unsecured
     City                              State     Zip Code      No
                                                              Dves.
    Contact                                                   Total claim (secured and unsecured):
                                                              Value of security:
    Contact phone                                             Unsecured Claim:


I   Jacqueline Barden
                                                              What is the nature of the claim?                ..,L.,.jtj..,q..,a.t.j.o..o.-C-l a.,.im,.,

                                                              As of the date you file, the claim is: Check all that apply.
                                                                                                                                                            _         $28,800,000 00

    Credito s Name
                                                              5ZI Contingent
    c/o Ryan Chapple                                          5ZI Unliquidated
    Cain & Skarnulis PLLC
    303 Colorado St, STE 2850                                 5ZI Disputed
    Number            Street                                  0 None of the above apply
    Austin, TX 78701                                          !Jges the creditor have a lien on your property? Unsecured
    City                               State     Zip Code      No
                                                              Dves.
    Contact                                                   Total claim (secured and unsecured):
                                                              Value of security:
                                                              Unsecured Claim:


I
    Contact phone

                                                              What is the nature of the claim?                 .L,.,it,..jg.,.at,.jo,..n.,_C"""la.,.im,.,   _          s2,110,ooo.oo
    Neil Heslin                                               As of the date you file, the claim is: Check all that apply.
    Creditor's Name
                                                              5ZI Contingent
    c/o Jarrod B. Martin                                      5ZIUnliquidated
    Chamberlain Hrdlicka
    1200 Smith Street, STE 1400
                                                              5ZI Disputed
    Number            Street                                  0 None of the above apply
    Houston, TX 77002                                         D,pes the creditor have a lien on your property? Unsecured
    City                               Stale     Zip Code      No
                                                              Dves.
   Contact                                                    Total claim (secured and unsecured):
                                                              Value of security:
                                                              Unsecured Claim:
   Contact phone




Official Form 104                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          page16
                                Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 20 of 27
                                 Case 22-33553                     Document 1 Filed in TXSB on 12/02/22                                               Page 17 of 21

   Debtor 1                Alexander             E.                          Jones                                                  Case number (if known)
                          First Name             Middle Name                 Last Name




  I
                                                                                                                                                                     Unsecured claim
                                                                   What is the nature of the claim?---- L=iti_ga=t=io n C=l=aj=m....                             _       s2.ooo.ooo.oo
      Scarlett Lewis                                               As of the date you file, the claim is: Check all that apply.
      Creditor's Name                                              lilf Contingent
      c/o Jarrod B. Martin                                         lilf Unliquidated
      Chamberlain Hrdlicka
      1200 Smith Street, STE 1400                                  lilf Disputed
      Number           Street                                  0        None of the above apply

      Houston, TX 77002                                            es     the creditor have a lien on your property? Unsecured
      City                              State     Zip Code         No




           -
                                                                   Dves.
      Contact                                                   Total claim (secured and unsecured):
                                                                Value of security:
                                                                Unsecured Claim:

                                                                What Is the nature of the claim?                         ,c,...e.d.,.i.._t.,.C.,.ar.,.d   ----            $150.000 00

     American Express                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                               0     Contingent
      PO Box 650448                                            0     Unliquidated
     Number           Street
                                                               lilf Disputed
     Dallas, TX 75265                                          0 None of the above apply
    City                               State      Zip Code
                                                                   s      the creditor have a lien on your property? Unsecured
                                                                   No
    Contact
                                                               Dves.
                                                               Total claim (secured and unsecured):
    Contact phone
                                                               Value of security:
                                                               Unsecured Claim:



i                                                              What is the nature of the claim?------------------------------------------------------ ­

                                                               As of the date you file, the claim is: Check all that apply.
    Creditor's Name                                            0     Contingent
                                                               0     Unliquidaled
    Number          Street                                     □     Disputed
                                                               0     None of the above apply

                                                               Does the creditor have a lien on your property?
    City                               State     Zip Code      ONo
                                                               OYes.
    Contact
                                                               Total claim (secured and unsecured):
                                                               Value of security:
    Contact phone                                              Unsecured Claim:




Official Form 104                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                           page 17
                           Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 21 of 27
                                Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 18 of 21

Debtor 1             Alexander                           E.                                      Jones                                Case number (ff known)
                     First Name                           Middle Name                            Last Name
                                                                                                                                                               Unsecured claim

IICreditor's Name
                                                                                    What is the nature of the claim?--------------
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                    DContingent
                                                                                    DUnliquidated
  Number          Street                                                           □        Disputed
                                                                                    DNone of the above apply
                                                                                    Does the creditor have a lien on your property?
 City                                   State                Zip Code               0No
                                                                                    0Yes.
 Contact                                                                           Total claim (secured and unsecured):
                                                                                   Value of security:
 Contact phone                                                                     Unsecured Claim:



IMia       Sign Below



     Under penalty of perjury, I declare that the infonnation provided in this form is true and correct.


 X                         . . ..
                              t s / A lex_,J""o'"'ne""s' ------------------------------ ­              X- -----
      Signature of Debtor 1                                                                              Signature of Debtor 2



      Date 12/02/2022                                                                                    Date
             MM/ DD/ YYYY                                                                                       MM/ DD/ YYYY
         Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 22 of 27
          Case 22-33553 Document 1 Filed in TXSB on 12/02/22                Page 19 of 21



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                          §    Chapter 11
                                                §
ALEXANDER E. JONES,                             §    CaseNo. -----
                                                §
         Debtor.                                §    (Joint Administration Requested)
                                                §

                     STATEMENT PURSUANT TO 11 U.S.C. § 1116(1)(b)

         I, Alexander E. Jones, the Debtor in the above-styled bankruptcy proceeding, state under

penalty of perjury and pursuant to 11 U.S.C. § 1116(1)(8) that I have no balance sheet, statement

of operations, or cash-flow statement.

         Dated: December 2, 2022.

                                                    ls/Alexander E. Jones
                                                    Alexander E. Jones
                                                    Debtor
                       Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 23 of 27
                             Case 22-33553                       Document 1                   Filed in TXSB on 12/02/22                                  Page 20 of 21


  82030 (Form 2030) (12/15)



                                                             United States Bankruptcy Court
                                                                                   Southern District of Texas

  In re        Jones, Alexander E.

                                                                                                                           Case No.                                      _


  Debtor                                                                                                                   Chapter                     1_ 1              _


                                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

  1.       Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
           or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

           For legal services, I have agreed to accept ..............................................................................................                         _;..$_50_0"""',_oo_o_._oo_

           Prior to the filing of this statement I have received ..........................................................................................                         $'--4_8..,_1, _9_3_.0--'0_


                                                                                                                                                                                    ------$0- -
           Balance        Due      ..............................................................................................................................................           .00            1



 2.        The source of the compensation paid to me was:

           D Debtor                       liZl Other (specify)            The Missouri779384 Trust


 3.        The source of compensation to be paid to me is:

           O    Debtor                    liZl Other (specify)
 4.       !ill      I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my


          law firm.

           D    I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
          law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

 5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

          a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                  bankruptcy;

          b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

          c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

          d.      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

 6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
          None currently.




1 This is the retainer accepted; this is not any limit or cap on the fees that will be charged in our representation of this

Debtor.
                                                                                                  Page 20 of
               Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 24 of 27
                  Case 22-33553 Document 1 Filed in TXSB on 12/02/22                                   Page 21 of 21


B2030 (Form 2030) (12/15)



                                                             CERTIFICATION

                       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
              ' me for representation of the debtor(s) in this bankruptcy proceeding.

                12/2/2022                                                       /s/ Vickie L. Driver
                Date                                         Vickie L. Driver
                                                             Signature of Attorney
                                                                                            Bar Number: 24026886
                                                                                            Crowe & Dunlevy, P. C.
                                                                                      2525 McKinnon St., Suite 425
                                                                                                 Dallas, TX 75201
                                                                                            Phone: (737) 218-6187

                                                                            Crowe & Dunlevy, P. C.
                                                            Name of law firm




                                                               Page 21 of
Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 25 of 27
          Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 26 of 27



NO. X06-UWY-CV-XX-XXXXXXX S:                        SUPERIOR COURT
ERICA LAFFERTY, ET AL :                             COMPLEX LITIGATION DOCKET
V.:                                                 AT WATERBURY
ALEX EMRIC JONES, ET AL :                           DECEMBER 2, 2022
NO. X06-UWY-CV-XX-XXXXXXX S:                        SUPERIOR COURT
WILLIAM SHERLACH :                                  COMPLEX LITIGATION DOCKET
V.:                                                 AT WATERBURY
ALEX EMRIC JONES, ET AL :                           DECEMBER 2, 2022
NO. X06-UWY-CV-XX-XXXXXXX S:                        SUPERIOR COURT
WILLIAM SHERLACH, ET AL :                           COMPLEX LITIGATION DOCKET
V.:                                                 AT WATERBURY
ALEX EMRIC JONES, ET AL :                           DECEMBER 2, 2022


      AFFIDAVIT PURSUANT TO PRACTICE BOOK§ 14-1 IN SUPPORT OF NOTICE
                     AND SUGGESTION OF BANKRUPTCY

         I, Norman A. Pattis, being duly sworn, do hereby depose and state as follows:

         1.      I am over the age of 18 and understand and believe in the obligation of an

oath.

        2.       I am counsel for the Defendant -Alex Emric Jones - in the above captioned

matters.

        3.       I give this affidavit pursuant to Connecticut Practice Book§ 14-1 in support

of the Defendant-Alex Emric Jones' - notice and suggestion of bankruptcy.

        4.       On December 2, 2022, counsel for the Defendant - Alex Emric Jones - in

the United States Bankruptcy Court for the Southern District of Texas informed me that

the Defendant-Alex Emric Jones - had voluntarily petitioned for Chapter 11 bankruptcy.

        5. To that end, the aforementioned counsel for the Defendant, Alex Emric Jones

              provided me copies of the voluntary petitions for Chapter 11 bankruptcy and




                                               1
Case 1:21-cv-03316-RJL Document 13 Filed 12/13/22 Page 27 of 27



   the corresponding docket number in the United States Bankruptcy Court for the

   Southern District of Texas.

6. I have independently verified both the docket numbers and the petitions using

   PACER.gov.

7. Pursuant to Practice Book 14-1, I provide the following information on behalf of

   lnfowars, LLC:


   Date Petition Was Filed: December 2, 2022

   Court & Court's Address:

   United States Bankruptcy Court for the Southern District of Texas

   515 Rusk St.

   Houston, TX 77002

   Name of Bankruptcy Debtor: Alexander E. Jones

   Bankruptcy Case Number: 22-33553




                                         NORMAN A. PATTIS


Subscribed to and sworn before me this 2nd day of Decemb
                                              /




                                     2
